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lN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

NA'I`HANIEL ANTHONY,

Plaimiff,

v. Civil Action No.

SHELBY COUNTY HEALTH CARE
CORPORATION d/b/a THE REGIONAL
MEI)ICAL CENTER AT MEMPHIS
SABRINA LUCKETT, AND

NANCY BANKS,

 

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Defendants.

STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

Pursuant to Rule 41 of the F ederal Rul.es of Civil Procedure, Plaintiff and Defendants

stipulate that this action be dismissed With prejudice, and it is therefore

ORDERED that this action be and is hereby DISMISSED With prejudice

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United States District .Iudge

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STIPULATED TO:

    

ANIEL ANTHO , Plaintiff
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MEMPHIS 165018vl

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 3 in
case 2:05-CV-02152 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

Nathaniel Anthony
1 181 Marble St.
Memphis7 TN 38108

Honorable Bernice Donald
US DISTRICT COURT

